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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                                      « mas


                                                                                                                   FEB 2 1 2017
                                     United States District Court                                              C LEHKTuTTiTu'jC^c'cTp -
                                        SOUTHERN DISTRICT OF CALIFORNIA                                   SOUTHERN DISTR.CVDF C-L FCRNIA
                                                                                                          BY
                                                                                                                            jfj/y* -:;UTY
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                y.                                  (For Offenses Committed On or After November 1, 1987)
           GABRIEL SANCHEZ-MAGANA (2)
                                                                       Case Number:         16CR2220 MMA

                                                                    THOMAS MATTHEWS
                                                                    Defendant’s Attorney
REGISTRATION NO.                57716298

□-
THE DEFENDANT:
Kl pleaded guilty to count(s)         FOUR OF THE INDICTMENT

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                  Nature of Offense                                                                      Number(s)
8 USC 1326                       REMOVED ALIEN FOUND IN THE UNITED STATES                                                   4




    The defendant is sentenced as provided in pages 2 through     ___         2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 WAIVED



IEI No fine                □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.           ___.

                                                                     ebruarv 13. 2017
                                                                    Daje of Imposition of Si        ice


                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                      16CR2220 MMA
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DEFENDANT:                GABRIEL SANCHEZ-MAGANA (2)                                               Judgment - Page 2 of 2
CASE NUMBER:              16CR2220 MMA


                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TEN (10) MONTHS




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

 |-j   The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      16CR2220 MMA
